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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

 PATRICIA HAWKINS                          §
                                           §
 v.                                        §   CIVIL CASE NO. 4:21-CV-265-SDJ
                                           §
 UHS OF TEXOMA, INC. D/B/A                 §
 TEXOMA MEDICAL CENTER                     §

 MEMORANDUM ADOPTING REPORT AND RECOMMENDATION OF THE
            UNITED STATES MAGISTRATE JUDGE

      Came on for consideration the Report and Recommendation of the United

States Magistrate Judge (“Report”), this matter having been referred to the

Magistrate Judge pursuant to 28 U.S.C. § 636. On July 26, 2021, the Report of the

Magistrate Judge, (Dkt. #12), was entered containing proposed findings of fact and

recommendations that Defendant UHS of Texoma, Inc. d/b/a Texoma Medical

Center’s Motion to Dismiss Under Federal Rule of Civil Procedure 12(b)(1), (Dkt. #6),

be granted. Having assessed the Report and the record in this case, and no objections

to the Report having been timely filed, the Court determines that the Magistrate

Judge’s Report should be adopted.

      It is therefore ORDERED that Defendant UHS of Texoma, Inc. d/b/a Texoma

Medical Center’s Motion to Dismiss Under Federal Rule of Civil Procedure 12(b)(1),

(Dkt. #6), is GRANTED. Plaintiff Patricia Hawkins’s claims are DISMISSED WITH

PREJUDICE.

      It is further ORDERED that to the extent Plaintiff Patricia Hawkins desires

to pursue her claims against Defendant UHS of Texoma, Inc. d/b/a Texoma Medical




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Center, such claims should be submitted to arbitration pursuant to the terms of the

Alternative Resolution of Conflicts Agreement.

         So ORDERED and SIGNED this 31st day of August, 2021.




                                                   ____________________________________
                                                   SEAN D. JORDAN
                                                   UNITED STATES DISTRICT JUDGE




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